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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

   BINAH GORDON et al.,

   Plaintiffs,

   v.                                                 No. 3:24-cv-01447-VAB

   AETNA LIFE INSURANCE COMPANY,

   Defendant.


             PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION OF TIME

        Pursuant to Fed. R. Civ. P. 6(b)(1)(A) and Local Rule 7(b), Plaintiffs Jamie Homnick and

Gennifer Herley (“Plaintiffs”) move for an extension of time to file their reply to Defendant Aetna

Life Insurance Company’s Response in Opposition to the Motion for Preliminary Injunction [ECF

No. 81]. Plaintiffs’ reply is currently due on April 25, 2025. Pursuant to the Court’s Order [ECF

No. 73], in which the Court indicated its willingness to provide the parties with additional time for

Preliminary Injunction briefing, if needed, Plaintiffs seek a short two-day extension until April 29,

2025. Plaintiffs’ counsel is seeking to accommodate unforeseen scheduling conflicts. This is

Plaintiffs’ first motion for extension of time as to this deadline and Defendant does not oppose the

motion.

DATED: April 23, 2025                                 Respectfully submitted,

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